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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                SAVANNAH DIVISION


 JORDAN BREWER,

                 Plaintiff,                                  CIVIL ACTION NO.: 4:21-cv-355

         v.

 SAMSUNG SDI CO., LTD, a Korean
 Corporation; SAMSUNG SDI AMERICA,
 INC., a California Corporation; SEV
 BERWICK STORE, LLC, d/b/a
 SOUTHEAST VAPES AND E-CIGS, a
 Georgia Limited Liability Company; HOHM
 TECH, INC., a California Corporation; JOHN
 DOES (A-Z); and ABC INC. (1-100),

                 Defendants.


                                             ORDER

       This case was removed to this Court on December 16, 2021, (doc. 1), and the parties

quickly moved to stay it pending ongoing litigation over a default judgment in the State Court of

Chatham County (the “State Court Case”) that could render this case, and a related case, Monroe

v. Samsung SDI Co., Ltd., CV421-357 (S.D. Ga. Dec. 16, 2021), moot, (doc. 13). The Court

stayed the case, (doc. 14), and at the parties’ request has continued that stay for the last 2.5 years,

(see docs. 23, 33, 44, 52, 61, 66, 73). The case was most recently stayed pending an October 3,

2024, status conference with the Magistrate Judge. (Doc. 77, p. 2.) In a status report submitted

prior to the conference, the parties all indicated that “a continuation of the stay is warranted.”

(Doc. 78, p. 1.) Because all parties agree that this case should remain stayed pending resolution

of the State Court Case, and because those proceedings are ongoing, but could render this case

moot, the Court finds that the most efficient course is to administratively close this case.
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Accordingly, the Court DIRECTS the Clerk to ADMINISTRATIVELY CLOSE this action.

Should any party seek to litigate this case, either because of the termination of the State Court Case

or for any other reason, they may file a motion asking the Court to reopen the case.

       SO ORDERED, this 4th day of October, 2024.




                                       R. STAN BAKER, CHIEF JUDGE
                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF GEORGIA




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